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 1                                                                  Hon. Ronald B. Leighton
 2
 3
                             UNITED STATES DISTRICT COURT
 4                          WESTERN DISTRICT OF WASHINGTON
                                      AT TACOMA
 5
 6   UNITED STATES OF AMERICA, )
                    Plaintiff,                )       NO.     CR 006-5506 RBL
 7        v.                                  )
                                              )       STIPULATION AND ORDER
 8   CABELLO, et al.,                         )       CONTINUING MOTIONS
                                              )       DEADLINE
 9                                            )
                         Defendants.          )
10                                            )
                                              )
11
12
13                                      STIPULATION
14         The plaintiff, United States of America, through its counsel, Assistant United
15   States Attorney, Matthew Thomas, and defendant, Justin Emerson by and through his
16   attorney, Lee Covell, hereby stipulate that the deadline for presentation of motions in
17   the above-entitled cause shall be continued two weeks from Sept. 29, 2006 until
18   October 13, 2006. This is a multiple defendant case and the government was only able
19   to commence distributing discovery to defendants yesterday, Sept. 28th. Defendant
20   Cabello, who is represented by Pete Mazzone, has not appeared in this case and a
21   warrant is outstanding. Counsel left a message with Mr. Marsden’s attorney, Stephan
22   Illa, yesterday regarding continuing the motions deadline and Mr. Illa has not
23   responded as of the preparation of this stipulation. There does not appear to be any
24   prejudice to either defendant Cabello or defendant Marsden by continuing this
25   deadline.
26
27
28      s/
                                                                             Law Offices of Lee Covell
     STIPULATION AND ORDER TO                                                 119 First Avenue South
     CONTINUE PRETRIAL MOTIONS DATE                                                  Suite 500
                                                                                Seattle, WA 98104
                                                  1                              (206) 682-6644
          Case 3:06-cr-05506-RBL          Document 26               Filed 09/29/06               Page 2 of 3



 1     Matthew Thomas
       Assistant United States Attorney
 2     (By telephonic permission)
 3     s/
       Lee Covell
 4     Attorney for Justin Emerson
 5
                                                           ORDER
 6
             The above-referenced parties herein, having stipulated to the continuation of
 7
       the motions deadline and this court being fully advised in the premises, it is now,
 8
       therefore, ORDERED, ADJUDGED AND DECREED that the motions deadline is
 9
       hereby continued from September 29, 2006 until October 13, 2006.
10
11

                                                           A
             IT IS SO ORDERED this 29th day of September, 2006.
12
13                                                         RONALD B. LEIGHTON
                                                           UNITED STATES DISTRICT JUDGE
14                                                         Digitally Signed upon oral authorization
                                                                  (JAB)
15
16     s/
       Matthew Thomas
17     Assistant United States Attorney
       (By telephonic permission)
18
19     s/
       Lee Covell
20     Attorney for Justin Emerson
21
22
23                                Certificate of Service

24                                I certify, under penalty of perjury under the laws of the State of Washington, that today I
                                  electronically filed this pleading and all attachments with the Clerk of Court using the
25                                CM/ECF system, which will send electronic notification of the filing to the attorneys of
                                  record for each of the parties.
26
                                  Signed on Sept. 29 th, 2006 in Seattle, Washington.
27
28
                                                                                              Law Offices of Lee Covell
     STIPULATION AND ORDER TO                                                                  119 First Avenue South
     CONTINUE PRETRIAL MOTIONS DATE                                                                   Suite 500
                                                                                                 Seattle, WA 98104
                                                            2                                     (206) 682-6644
          Case 3:06-cr-05506-RBL     Document 26   Filed 09/29/06     Page 3 of 3



 1                             s/
                              Lee Covell
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                                                                    Law Offices of Lee Covell
     STIPULATION AND ORDER TO                                        119 First Avenue South
     CONTINUE PRETRIAL MOTIONS DATE                                         Suite 500
                                                                       Seattle, WA 98104
                                             3                          (206) 682-6644
